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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                 CASE NO. 23-1059
        __________________________________________________________________

                    SOUTH CAROLINA STATE PORTS AUTHORITY,

                                                       Petitioner,

                                                  v.

                          NATIONAL LABOR RELATIONS BOARD,

                                                       Respondent.


                     ON PETITION FOR REVIEW OF AN ORDER OF
                     THE NATIONAL LABOR RELATIONS BOARD


               STATE OF SOUTH CAROLINA’S MOTION TO INTERVENE



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               STATE OF SOUTH CAROLINA’S MOTION TO INTERVENE

              Pursuant to Federal Rule of Appellate Procedure 15(d), the State of South

        Carolina (“State”) respectfully moves to intervene as a Petitioner to challenge the

        National Labor Relations Board’s (“NLRB”) Order dated December 16, 2022

        (“Order”) and reported at Int’l Longshoremen’s Ass’n, AFL-CIO, CLC & Int’l

        Longshoremen’s Ass’n AFL-CIO, Loc. 1422 & United States Mar. Ass’n, Ltd. &

        State of S.C. & S.C. State Ports Auth., 372 NLRB No. 36 (Dec. 16, 2022). The State

        was a party to and a participant in the proceedings below and, thus, would be entitled

        to file its own petition for review before this Court pursuant to 29 U.S.C.A. § 160(e)

        (“Any person aggrieved by a final order of the Board … may obtain a review of such

        order in” the appropriate United States Court of Appeals). Sierra Club, Inc. v. E.P.A.,

        358 F.3d 516, 518 (7th Cir. 2004) (allowing intervention under Fed. R. App. P. 15(d)

        by party with direct interest). Therefore, allowing the State to intervene in the matter

        already docketed in this Court will allow for the conservation of judicial resources

        with no prejudice to any person or party.

              Moreover, the State of South Carolina is entitled to intervene as of right. See

        Sierra Club, Inc., 358 F.3d at 517-18 (“Rule 15(d) does not provide standards for

        intervention, so appellate courts have turned to the rules governing intervention in

        the district courts under Fed. R. Civ. P. 24.”). As an aggrieved party and participant

        in the proceedings below, the State is given an unconditional right to intervene by
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        29 U.S.C.A. § 160(e). Fed. R. Civ. P. 24(a)(1). In this matter, the State has the

        requisite interest for intervention as of right in that it has

               an interest relating to the property or transaction that is the subject of
               the action, and is so situated that disposing of the action may as a
               practical matter impair or impede the [State’s] ability to protect its
               interest, unless existing parties adequately represent that interest.

        Fed. R. Civ. P. 24(a)(2). Sierra Club, Inc. v. E.P.A., 358 F.3d 516, 517–18, 57 Fed.

        R. Serv. 3d 1239, 2004 WL 309142 (7th Cir. 2004).

               In addition, the State agrees to meet the proposed briefing and argument

        schedule set forth in the South Carolina State Ports Authority’s Motion to Expedite

        Appeal, Case No. 23-1059, filed January 25, 2023 (Doc. 10) and joins in that request

        for expedited treatment.

                                            CONCLUSION

               The State respectfully requests party status in this matter.

                                                  Respectfully submitted,

                                                  /s/Jared Q. Libet
                                                  Alan Wilson
                                                  W. Jeffrey Young
                                                  Robert D. Cook
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                                STATEMENT PURSUANT TO
                             FOURTH CIRCUIT LOCAL RULE 27(A)

                  Counsel for Petitioner and Respondent have been notified of the intended

        filing of this Motion. Intervenor conferred with counsel for the Petitioner regarding

        the motion and Petitioner does not oppose the Motion. Intervenor conferred with

        counsel for the Respondent NLRB and Respondent does not oppose this Motion, but

        Respondent does not give its consent to Intervenor and Petitioner filing separate

        briefs.

        Respectfully submitted this 2nd day of February, 2023.
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                             CERTIFICATE OF COMPLIANCE

              This motion complies with the type-volume limitations of Federal Rule of

        Appellate Procedure 27(d)(2)(A). The motion contains 416 words, excluding the

        parts of the motion exempted by Federal Rule of Appellate Procedure 32(f).

              This motion complies with the typeface and type style requirements of Federal

        Rule of Appellate Procedure 27(d)(1)(E), incorporating Rules 32(a)(5) and 32(a)(6).

        The motion has been prepared in a proportionally spaced typeface using Microsoft

        Word in Times New Roman 14-point font.

                                              /s/Jared Q. Libet
                                              Jared Q. Libet

                                              Counsel for the State of South Carolina
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                                     CERTIFICATE OF SERVICE

              I hereby certify that on this 2nd day of February, 2023, I electronically filed

        the foregoing Motion to Intervene with the Clerk of Court using the CM/ECF

        system, which will automatically send electronic mail notification of such filing to

        the following:

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              I hereby certify that on this 2nd day of February, 2023, I served via electronic

        mail and first class mail notification of such filing to the following interested parties:
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